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                    6   Attorneys for Defendant
                        ERIC BRAVICK
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                    8
                    9                                   UNITED STATES DISTRICT COURT

                   10                               NORTHERN DISTRICT OF CALIFORNIA

                   11
                   12   DFINITY USA RESEARCH, LLC, a limited                   Case No. 5:22-cv-03732
                        liability company,
                   13                                                          DECLARATION OF JOACHIM B.
                                           Plaintiff,                          STEINBERG IN SUPPORT OF
                   14                                                          DEFENDANT ERIC BRAVICK’S
                               v.                                              NOTICE OF REMOVAL
                   15
                        ERIC BRAVICK, an individual and DOES 1                 (Santa Clara Superior Court
                   16   through 100, inclusive.                                Case No. 22CV398321)
                   17                      Defendant.                          Complaint filed: May 11, 2022
                   18
                   19          I, Joachim B. Steinberg hereby declare and state as follows:

                   20           1.     I am a counsel with the law firm of Crowell & Moring LLP, counsel for Eric

                   21   Bravick (“Defendant” or “Bravick”). I am admitted to the bars of California and New York. I am

                   22   over eighteen years old. I make this declaration, except where noted, of my own personal

                   23   knowledge, and, if called upon to do so, could and would testify competently to the facts that it

                   24   contains.

                   25          2.      This Declaration is submitted in support of Defendant’s Notice of Removal of the

                   26   state court action, Dfinity USA Research, LLC v. Eric Bravick, et al.. Case No. 22CV398321,

                   27   from the Superior Court of the State of California for the County of Santa Clara to the United

                   28   States District Court for the Northern District of California.
  Crowell
& Mori ng   LLP                                                                          DECLARATION OF JOACHIM B. STEINBERG;
Attorneys at Law                                                                                         CASE NO. 5:22-CV-03732
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                    1          3.      It has been reported to me that at the time of the filing of the state court action on

                    2   May 11, 2022 and since that time, Mr. Bravick has resided in Traverse City, Michigan.

                    3          I declare under penalty of perjury under the laws of the state of California and the United

                    4   States of America that the foregoing is true and correct.
                    5          Executed on June 24, 2022 at San Francisco, California.

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                    8                                                 Joachim B. 'Sternberg
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  Crowell
                                                                                          DECLARATION OF JOACHIM B. STEINBERG;
& Mori ng   LLP
Attorneys at Law
                                                                         -2-                               CASE NO. 5:22-CV-03732
